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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISON

UNITED STATES OF AMERICA                        NO. 3:21-CR-0054-N

v.

DANIEL REY SETTLE
a.k.a. “POLO”


              UNITED STATES’ OPPOSITION TO DEFENDANT’S
            MOTION TO SUPPRESS STATEMENT OF DANIEL SETTLE




                                      Respectfully submitted,

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                                      UNITED STATES ATTORNEY

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         The government opposes defendant Daniel Rey Settle’s Motion to Suppress

Statement filed on September 25, 2023. (Dkt. 135.) As explained below, Settle’s

statement was voluntary, and his roving, factually incomplete motion fails to prove

otherwise.

                                        BACKGROUND

1.       Settle is arrested by Dallas County for Compelling Prostitution and
         Continuous Trafficking of Persons.

         On January 8, 2021, a magistrate judge for Dallas County, Texas signed two state

arrest warrants for Settle—Compelling Prostitution and Continuous Trafficking of

Persons. See Dallas County Case Nos. F2175035 and F2175036; GOV_00002170. On

January 14, 2021, Dallas Police Department officers executed those arrest warrants, and

Settle was taken into Dallas County custody. Id.

         On January 15, 2021, Settle was arraigned in Dallas County for Compelling

Prostitution and Continuous Trafficking of Persons. Attached hereto as Exhibit A is the

January 15, 2021, Arraignment Sheet from Dallas County for Settle’s arraignment. At

his Dallas County arraignment, Settle requested the appointment of counsel, and was

appointed Valencia Bush on January 19, 2021 and David Jordan on January 21, 2021.

(Dkt. 135, Ex. A.) Attached hereto as Exhibit B is Dallas County Magistrate Judge Hal

Turley’s January 15, 2021 order setting Settle’s bond at $100,000 per charge, for a total

of $200,000. Settle was remanded to the custody of the Dallas Police Department

pending further proceedings. See Exhibit A.




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         Attached hereto as Exhibits C and D are Dallas Police Department “Release

Charge” forms, in which Settle’s Dallas County case numbers F2175035 and F2175036

were “dropped” on January 22, 2021. Both “Release Charge” forms were accepted by

Dallas County Sheriff’s Office on January 22, 2021 at 4:11 pm. See Exhibits C and D.

Internal Dallas County records for Settle’s Dallas County cases, attached hereto as

Exhibit E, indicate that both the “Release Charge” forms were processed by Dallas

County on January 27, 2021.

         On January 25, 2021, counsel for Settle’s then-dismissed state charges, David

Jordan, called the US Attorney’s Office for the Northern District of Texas, requesting to

speak to the prosecutor assigned to Settle’s federal case. A recording of Mr. Jordan’s

January 25, 2021 voicemail is attached hereto as Exhibit F. On January 26, 2021,

counsel for the government returned Mr. Jordan’s phone call. During the phone call, Mr.

Jordan informed counsel for the government that he would not be coming in on Settle’s

federal case and that Settle wanted to speak to federal agents.

2.       Settle is interviewed by federal agents on January 26, 2021.

         On January 26, 2021, after his Dallas County charges had been dropped, Settle

was interviewed in Lew Sterrett Jail by Homeland Security Investigation Special Agent

John Kochan. This date is confirmed by the metadata associated with SA Kochan’s

audio recording of the interview. 1 Relevant portions of the beginning of that recorded




1
 The entirety of Settle’s January 26, 2021 recorded interview was produced in discovery
(GOV_00000193), provided to the Court as Government Trial Exhibit 10, and is included herewith as
Sealed Exhibit G.


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interview are transcribed below:

   • SA Kochan: “You have the right to remain silent, do you understand that?”

   • Settle: “Yes, sir.”

   • SA Kochan: “Anything you say can and will be used against you in a court of law,

       do you understand that?”

   • Settle: “Yes, sir.”

   • SA Kochan: “You have a right to talk a lawyer and have him present with you

       while you are being questioned, do you understand that?”

   • Settle: “Yes, sir.”

   • SA Kochan: “If you cannot afford to hire a lawyer, one will be appointed to

       represent you before any questioning if you wish, do you understand that?”

   • Settle: “Yes, sir.”

   • SA Kochan: “And if you decide to make a statement, you may stop at any time, do

       you understand that?”

   • Settle: “Yes, sir.”

   • SA Kochan: “Last question. Do you understand each of the rights that I’ve

       explained to you?”

   • Settle: “Yes, sir, I do.”

   • SA Kochan: “And having these rights in mind, do you wish to talk to me right

       now?”

   • Settle: “Yes, sir.”



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3.       Settle is charged by federal criminal complaint for Sex Trafficking Through
         Force, Fraud, or Coercion.

         On January 20, 2021, Magistrate Judge David L. Horan signed a federal criminal

complaint and accompanying arrest warrant for Settle, alleging a violation of 18 U.S.C. §

1591(a) and (b)(1), Sex Trafficking Through Force, Fraud, or Coercion. (Dkt. 4.)

Attached hereto as Exhibit H is a January 20, 2021 email exchange between SA Kochan

and employees of Dallas County Sheriff’s Department’s Data Management Unit

(“DMU”), in which DMU employees acknowledged receipt of Settle’s federal warrant

from SA Kochan.

         On February 1, 2021, Settle was arrested by SA Kochan on the federal criminal

complaint. (Dkt. 4.) The same day Settle was arrested on the complaint for this

conduct—February 1, 2021—he made his initial appearance before Magistrate Judge

Renee H. Toliver. (Id.) The next day, Settle was indicted on the charge in the complaint:

violating 18 U.S.C. § 1591(a)(1) and (b)(1). (Dkt. 11 at 1.)

                                      LEGAL STANDARD

         “In any criminal prosecution . . . a confession . . . shall be admissible in evidence

if it is voluntarily given.” 18 U.S.C. § 3501(a). In determining the voluntariness of the

confession, the “trial judge . . . shall take into consideration all the circumstances

surrounding the giving of the confession including:

      (1) the time elapsing between arrest and arraignment of the defendant making

         the confession, if it was made after arrest and before arraignment,




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   (2) whether such defendant knew the nature of the offense with which he was

       charged or of which he was suspected at the time of making the confession,

   (3) whether or not such defendant was advised or knew that he was not

       required to make any statement and that any such statement could be used

       against him,

   (4) whether or not such defendant had been advised prior to questioning of his

       right to the assistance of counsel, and

   (5) whether or not such defendant was without the assistance of counsel when

       questioned and when giving such confession.”

18 U.S.C. § 3501(b).

       “The presence or absence of any of the above-mentioned factors . . . need not be

conclusive on the issue of voluntariness of the confession.” Id. Further, a confession

“shall not be inadmissible solely because of delay in bringing such person before a

magistrate judge . . . if [1] such confession is found by the trial judge to have been made

voluntarily and [2] if the weight to be given the confession is left to the jury and [3] if

such confession was made or given by such person within six hours immediately

following his arrest or other detention . . . .” 18 U.S.C. § 3501(c). The six-hour time

limit “contained in this subsection shall not apply in any case in which the delay in

bringing such person before such magistrate judge or other officer beyond such six-hour

period is found by the trial judge to be reasonable considering the means of transportation

and the distance to be traveled to the nearest available such magistrate judge or other

officer.” Id.


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       Rule 5 of the Federal Rules of Criminal Procedure requires the government to take

an arrested defendant before a magistrate “without unnecessary delay.” Fed. R. Crim. P.

5(a)(1). Before 18 U.S.C. § 3501 was enacted, the Supreme Court, through the

colloquially-described McNabb-Mallory framework, established a remedy for violations

of the prompt-presentment requirement, namely suppression of any confession obtained

during a period of unreasonable delay. See McNabb v. United States, 318 U.S. 332

(1943); Mallory v. United States, 354 U.S. 449 (1957).

       After Section 3501 was codified in 1968, the Supreme Court held in Corley that

Section 3501 “modified McNabb-Mallory without supplanting it.” Corley v. United

States, 556 U.S. 303, 322 (2009). The Court instructed:

       [A] district court with a suppression claim must find whether the defendant
       confessed within six hours of arrest . . . . If the confession occurred before
       presentment and beyond six hours, however, the court must decide whether
       delaying that long was unreasonable or unnecessary under the McNabb-
       Mallory cases, and if it was, the confession is to be suppressed.

Id.

       Regarding delay-of-presentment challenges and the application of Section

3501(c)’s six-hour “safe harbor,” the Fifth Circuit instructed that “when presented with a

delay outside of the safe harbor, a district court must apply the McNabb-Mallory doctrine

to determine whether the delay in bringing a suspect before a magistrate was reasonable.”

United States v. Boche-Perez, 755 F.3d 327, 335 (5th Cir. 2014). Importantly, “[t]he

defendant has the burden of demonstrating a McNabb-Mallory violation.” Id. at 336.

       In analyzing a McNabb-Mallory challenge, courts first “must determine the length

of the delay,” with “the clock start[ing] to run from when the obligation to take the


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defendant before the federal magistrate arises to the point at which the confession was

rendered”—“McNabb-Mallory concerns itself with the time of confession, not the time of

first appearance.” Id. “[I]f the length of the delay is determined to fall outside of the §

3501(c) safe harbor, then the court needs to move on to the second step of the analysis

and examine whether the causes of the delay were justifiable under the McNabb-Mallory

cases.” Id.

       Justifiable delays include those related to “legitimate law enforcement procedures,

such as the administrative booking of the arrestee; coordinating with multiple law

enforcement agencies or with the U.S. attorney’s office; or verifying alibis.” Id. at 337.

Concerning the myriad justifiable delays, the Fifth Circuit cautioned that courts “should

not resort to a semanticism that obscures the facts of a case,” recognizing that “[t]he

overall reasonableness of a delay will vary city-to-city, case-to-case, justification-to-

justification.” Id. at 338 (internal citations omitted).

       As a threshold matter, “[t]here can be no delay in bringing a person before a

federal magistrate until, at a minimum, there is some obligation to bring the person before

such a judicial officer in the first place. Plainly, a duty to present a person to a federal

magistrate does not arise until the person has been arrested for a federal offense.” United

States v. Alvarez-Sanchez, 511 U.S. 350, 357 (1994) (emphasis in original). “As long as

a person is arrested and held only on state charges by state or local authorities, the

provisions of § 3501(c) are not triggered.” Id. at 358.

       “[A]ny delay for purposes of § 3501(c) must be measured from the beginning of

the federal detention” absent “proof of a working arrangement between state police and


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federal agents for the purpose of aiding and abetting the federal officers in carrying on

interrogation of the suspect in violation of Federal Rule 5(a) requiring prompt

arraignment.” United States v. Davis, 459 F.2d 167, 170 (6th Cir. 1972) (emphasis

added, internal quotations omitted). In United States v. Rollerson, 491 F.2d 1209 (5th

Cir. 1974), the Fifth Circuit expressly agreed with Davis, holding that “in order to invoke

the protection of Section 3501(c), [a defendant] must show that the state officials

unlawfully detained him in order to allow the federal investigator to secure a confession.”

Id. at 1212.

       “[C]ourts have been ‘careful not to overextend McNabb-Mallory[‘s] prophylactic

rule in cases where there was a reasonable delay unrelated to any prolonged interrogation

of the arrestee.” Boche-Perez, 755 F.3d at 336–37 (quoting United States v. Garcia-

Hernandez, 569 F.3d 1100, 1106 (9th Cir. 2009)). Accordingly, the Fifth Circuit

instructed that “when applying McNabb-Mallory, a court cannot simply watch the clock,

and treat the doctrine as a carpenter’s measuring stick to be used by merely laying it

alongside the material to be evaluated” and “[a] six-hour delay in presentment should not

be treated as a sort of talismanic formula that renders all confessions made after the delay

inadmissible[.]” Boche-Perez, 755 F.3d at 335 (internal quotations and citations

omitted).




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                            ARGUMENT AND AUTHORITIES

1.     Settle’s January 26, 2021 confession did not result in a McNabb-Mallory
       violation, and Settle has failed to carry his burden to demonstrate otherwise.

       Contrary to Settle’s erroneous assertion (Dkt. 135 at 3), it is Settle—not the

government—who carries the burden in proving a McNabb-Mallory violation. See

Boche-Perez, 755 F.3d at 336. Settle has failed to meet that burden.

       For purposes of Rule 5, Section 3501(c), and McNabb-Mallory, the duty to present

Settle to a federal magistrate arose on February 1, 2021—the date he was “arrested for a

federal offense.” Alvarez-Sanchez, 511 U.S. at 357. To the extent that Settle argues that

the obligation to present Settle to a federal magistrate arose at some point before

February 1, 2021, he has failed to show why that would be the case and/or that “state

officials unlawfully detained him in order to allow the federal investigator to secure a

confession.” Rollerson, 491 F.2d at 1212; see also Davis, 459 F.2d at 170.

       Instead, the credible evidence shows that Settle’s Dallas County cases were

dismissed on January 22, 2021 (see Exhibits C and D) and that Settle was arrested on the

federal complaint on February 1, 2021. The government is informed and believes that the

period of time that lapsed between when the “Release Charge” forms were filed and

when Settle was arrested on the federal complaint is attributable to the administrative

processing of those “Release Charge” forms, as evidenced by the internal Dallas County

records that appear to show that the forms were processed on January 27, 2021. See

Exhibit E. Even assuming that the obligation to present Settle to a federal magistrate

arose after the Dallas County cases were dismissed but before Settle’s federal arrest on



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February 1, 2021, he has failed to prove that Dallas County officials unlawfully detained

him in order to allow federal agents to secure his confession. Davis, 459 F.2d at 170.

2.     Settle’s January 26, 2021 statement was voluntary.

       Not only was there not a McNabb-Mallory violation, but Settle’s confession also

bears all of the hallmarks of a voluntary confession. See 18 U.S.C. § 3501(b).

       First. Settle’s confession was made before his arrest on the federal

complaint.

       Second. Settle knew the nature of the offense with which he was charged

or of which he was suspected at the time of making the confession because of his

January 15, 2021 arraignment on similar charges at Dallas County and because

federal agents informed him of the nature of the offense during the January 26,

2021 interview.

       Third. Settle was advised or knew that he was not required to make any

statement and that any such statement could be used against him.

       Fourth. Settle had been advised prior to questioning of his right to the

assistance of counsel, as demonstrated by the reading of his Miranda rights at the

beginning of the January 26, 2021 interview.

       Fifth. Settle was without the assistance of counsel when he was questioned,

but he was informed of the right to have the assistance of counsel during the

interview. Further, that Mr. Jordan, counsel for Settle’s dismissed Dallas County

cases, informed the US Attorney’s Office that Settle was interested in speaking

with federal agents suggests that Mr. Jordan and Settle communicated, at least in


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some degree, about a potential interview.

       Finally, Settle, with no supporting authority, fleetingly argues that his January 26,

2021 statement was obtained in violation of the “5th and 6th amendment.” (See Dkt. 135

at 3.) In Montejo v. Louisiana, 556 U.S. 778 (2009), the Supreme Court summarized its

long-standing precedents in this area:

       [O]nce the adversary judicial process has been initiated, the Sixth
       Amendment guarantees a defendant the right to have counsel present at all
       critical stages of the criminal proceedings. Interrogation by the State is
       such a stage.

       Our precedents also place beyond doubt that the Sixth Amendment right to
       counsel may be waived by a defendant, so long as relinquishment of the
       right is voluntary, knowing, and intelligent. The defendant may waive the
       right whether or not he is already represented by counsel; the decision to
       waive need not itself by counseled. And when a defendant is read his
       Miranda rights (which include the right to have counsel present during
       interrogation) and agrees to waive those rights, that usually does the trick,
       even though the Miranda rights purportedly have their source in the Fifth
       Amendment[.]

Id. at 786 (internal citations omitted).

       The Montejo Court further recognized that “these cases . . . protect the right to

have counsel during custodial interrogation—which right happens to be guaranteed (once

the adversary judicial process has begun) by two sources of law. Since the right under

both sources is waived using the same procedure, doctrines ensuring voluntariness of the

Fifth Amendment waiver simultaneously ensure the voluntariness of the Sixth

Amendment waiver.” Id. at 795 (emphasis in original).

       The government does not dispute that Settle requested and was appointed counsel

for his Dallas County cases before his January 26, 2021 confession, thereby triggering



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potential Fifth and Sixth Amendment protections for his related federal case. However,

as demonstrated above, those cases were dismissed prior to his January 26, 2021

confession. And, as demonstrated above, Settle knowingly and voluntarily waived his

Fifth and Sixth Amendment rights when he was clearly informed of his Miranda rights at

the beginning of the interview and continued to speak to agents. See Montejo, 556 U.S.

at 794 (“[A] defendant who does not want to speak to the police without counsel present

need only say as much when he is first approached and given the Miranda warnings”).

Contrary to Settle’s argument, at no point during Settle’s January 26, 2021 interview did

he request the assistance of counsel. See Exhibit G.

       Lastly, that Settle’s court-appointed attorney for the Dallas County cases, Mr.

Jordan, called the US Attorney’s Office on January 25, 2021 and told the undersigned

government attorneys on January 26, 2021 that he would not be representing Settle in his

federal case and that Settle wanted to speak with federal agents stands in stark contrast to

Settle’s baseless assertions that “Settle’s counsel was not notified that his client was

going to be questioned” and that “Settle did not request to speak with investigators.”

(Dkt. 135 at 3.)

                                         CONCLUSION

       In short, Settle’s January 26, 2021 statement to federal agents was voluntary—

there was no unlawful delay-in-presentment nor violations of Settle’s Fifth or Sixth

Amendment rights. The credible evidence shows that Settle, after communicating with a

court-appointed attorney, knowingly and voluntarily waived his rights when he spoke

with agents and that he was promptly presented to a federal magistrate after his February


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1, 2021 arrest. Therefore, the government respectfully requests that the Court deny

Settle’s Motion to Suppress Statement without an evidentiary hearing.

                                               Respectfully submitted,

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                                               UNITED STATES ATTORNEY

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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 5, 2023, I electronically filed the foregoing

document with the clerk for the United States District Court, Northern District of Texas,

using the electronic case filing system of the court. The electronic case filing system will

send a “Notice of Electronic Filing” to the attorney of record who has consented in

writing to accept this Notice as service of this document by electronic means.


                                               /s/ Andrew J. Briggs               .
                                               Andrew J. Briggs
                                               Assistant United States Attorney




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